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     FELIX GARCIA-VALDEZ
6
7                                            UNITED STATES DISTRICT COURT
8                                           EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                           No. 2:08-CR-0454-JAM
11                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
12             v.                                        U.S.C. § 3582(c)(2)
13   FELIX GARCIA-VALDEZ,                                RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
14                             Defendant.
                                                         Hon. John. A. Mendez
15
16             Defendant, FELIX GARCIA-VALDEZ, by and through his attorney, John Balazs, and
17   plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
18   Jason Hitt, hereby stipulate as follows:

19             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

20   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

21   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

22   pursuant to 28 U.S.C. § 994(o);

23             2.         On September 15, 2009, this Court sentenced Mr. Garcia-Valdez to a term of 121

24   months imprisonment on Count 1, and Counts 2, 3 and 4 were dismissed;

25             3.         His total offense level was 35, his criminal history category was II, and the

26   resulting guideline range was 188 to 235 months;

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     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Garcia-Valdez was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Garcia-Valdez’s total offense level has been reduced from 35 to 33, and his
5    amended guideline range is 151 to 188 months; and, with a similar corresponding reduction, the
6    sentence would be reduced to 100 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Garcia-Valdez’s term of imprisonment to a term of 100 months. As a result, Mr.
9    Garcia-Valdez agrees to withdraw his pending § 3582(c)(2) motion at dkt. entry 277.
10   Respectfully submitted,
11   Dated: March 9, 2016                               Dated: March 9, 2016
12   BENJAMIN B. WAGNER
     United States Attorney
13
14    /s/ Jason Hitt                                     /s/John Balazs
     JASON HITT                                         JOHN BALAZS
15   Assistant U.S. Attorney
16   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           FELIX GARCIA-VALDEZ
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                          ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Garcia-Valdez is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 35 to 33, resulting in an amended
6    guideline range of 151 to 188 months, and a corresponding reduction in sentence from 121 to
7    100 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in September 2009 is
9    reduced to a term of 100 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             IT IS FURTHER ORDERED that Mr. Garcia-Valdez’s pending § 3582(c)(2) motion at
15   dkt. entry 277 is hereby withdrawn.
16             If not deported and unless otherwise ordered, Mr. Garcia-Valdez shall report to the
17   United States Probation Office within seventy-two hours after his release.
18   Dated: March 14, 2016
19
                                               /s/ John A. Mendez_____________________
20                                             HON. JOHN A. MENDEZ
                                               United States District Court Judge
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     Stipulation and Order Re: Sentence Reduction             3
